Date of Arrcst: 05!14

 

United States District Court

DISTRICT OF ARIZONA
UNITE.D STATE;S OF AMER|CA, CRIMINAL COMPLAINT
Battolo PEDRO-Sa'ntiago 4 . _ j
Citizen oquatcrnala CASE NUMBER‘ \C§ \":'> O?> \J\
YO :1973
028§33922
lllegal Alien

lthe undersigned com iainant bein duly sworn state the following' rs true and correct to

the best of my knowle ge and belieF

COUNT I
That on or about January 6, 2011, Defendant Bartolo PEDRO-Santiago, an alien, was
removed from the United States to Guaternala through the port of New Orleans, LA, in
pursuance of law, and thereafter on or about May 14, 2018, Det`endant was found in the
United States near San Luis, Arizona within the District of Arizona, the Secretary of the
Departrnent of Homeiand Security not theretofore having consented to any reapplication
by the Defendant for admission into the United Statcs and after the Defendant had willfully
and unlawfully returned and remained` 111 the United States; in violation of Title 8, United
States Code, Section lB?.ti(a)(Felony).

COUNT I[
That on or about May 14, 2018, near San Luis, Arizona in the District of Arizona,
Defendant Bartolo PEDRO-Santiago, an alien, did knowingly and willfully enter the
United Statcs at a time or place other than as designated by Immigration Oft'tccrs of the
United States ofAmcrica, in violation of Title S, United Statcs Codc, Scction 1325(£1)(1)
(Misdemeanor).

And the complainant further states that this complaint is based on the attached Statement
of Facts incorporated herein by reference

Continued on the attached sheet and made a part here of. E|Yes ` |:\No

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as ease am m

Steven Day

, , BORDER PA'I`RGL AGENT
Sworn to before me and subscribed m my presencc,

May 16. ZLB at Yuma. Arizona

Chyunds%

re o Iudicia| Oi`l`lcer

Date

Ja_n}es F. Metcall’. United States Magistrate Judge
Nume & Title of.ludlcia| Ofiicer

  
 

 

 

STATEMENT OF FACTUAL BASIS

Det`endant: Bartolo PEDRO-Santiano
oependancs: ` 1 GUAT cLAIMsD
[MMH;B 5 T[ON M The Defendant is an illegal alien. The Defendant has been

apprehended b immigration officials on three (3] previous
occasion(s). he Defendant has been removed a total of three
(3) times. The Defendant was last removed through New
Orlcans, LA on Januaty 6, 2011.

 

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QA]`_E |¢OCAl !QN QFFENSE IQI§]ZQ§IT!OE
01»'061»'20| l New Orleans, LA Remoucd from the US ( REIN ){ ICE )
10.-'311*2006 Rantoul, lllinois DUI _ 10 Days

Narra;ive; The Defendant, a citizen of Guatemaia and ille ally within the United States, was
encountered by Border Patrol agents near San uis, Arrzona.

The l_)efendant was questioned as to his citizenship and immigration status From that
&uestroning agents determined that the Det`endant rs an undocumented national ot`
uatcmala and lllcgally in the United States.

The De_fendant was transported to the Border Patrol station for processing During
processtn_g, q_uestiornng and computer record checks the above criminal and
lmrnlgratlon information was obtalned as 11 relates to this Defendant.

The Defendant was first ordered removed at or near Phoenix, Arizona on or about
1 October 21, 1938. .

The Defendant last entered the United States illegally without inspection near San
Luis, Arlzona on May 14, 2018

Charges: 8 USC l326(a) _ (Felony)
8 USC 1325(a)(1) (M`tsderneanor)

 

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Sworn to before me and subscribed in my presence,

Ma_y 16.2013

 

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